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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


FRANKLIN ARMORY                  :              CIVIL ACTION
HOLDINGS, INC. et al.,           :
             Plaintiffs,         :
                                 :
        v.                       :
                                 :
ROBERT JOSEPH GALLAGHER, et al., :
            Defendants.          :              NO. 20-5681


                                   NOTICE

       The Rule to Show Cause Hearing scheduled for Friday, October 1, 2021 at

11:00 a.m. (ECF No. 41) before the Hon. Chad F. Kenney, in Courtroom 6A, 601

Market Street, Philadelphia, PA 19106, is hereby CANCELLED.


9/27/2021                                 /s/ Chad F. Kenney

DATE                                      CHAD F. KENNEY, JUDGE
